OPINION — AG — ** ELECTION — ANNEXING ** (1) ASSUMING ALL STATUTORY AND REGULATORY REQUIREMENTS FOR ANNEXATION HAVE BEEN COMPLIED WITH, THE STATE BOARD OF VOCATIONAL AND TECHNICAL EDUCATION MAY CALL AN ELECTION IN THAT PART OF AN INDEPENDENT SCHOOL DISTRICT, WHICH IS ALREADY PART OF THE COMMUNITY JUNIOR COLLEGE AREA SCHOOL DISTRICT FOR THE PURPOSE OF ANNEXING THAT TERRITORY TO AN EXISTING AREA VOCATIONAL — TECHNICAL SCHOOL DISTRICT WHICH COVERS THE REMAINING PORTION OF THE INDEPENDENT SCHOOL DISTRICT. (2) ASSUMING THE VOTERS APPROVE THE ANNEXATION REFERRED TO IN ANSWER(1), AN OVERLAP AREA BETWEEN THE EXISTING COMMUNITY JUNIOR COLLEGE AREA SCHOOL DISTRICT AND THE ANNEXING AREA VOCATIONAL — TECHNICAL SCHOOL DISTRICT WILL BE CREATED, UNLESS THIS TERRITORY HAS FIRST BEEN PROPERLY DE ANNEXED FROM THE COMMUNITY JUNIOR COLLEGE AREA SCHOOL DISTRICT. (3) THE TAXPAYERS IN AN OVERLAP AREA CANNOT BE SUBJECTED TO DUAL BUILDING FUND LEVIES ESTABLISHED ON BEHALF OF THE COMMUNITY JUNIOR COLLEGE AREA SCHOOL DISTRICT, AND THE AREA VOCATIONAL — TECHNICAL SCHOOL DISTRICT. (4) THE COMMUNITY JUNIOR COLLEGE AREA SCHOOL DISTRICT HAVING FIRST BEEN ESTABLISHED IN THE DISPUTED AREA, IT WOULD HAVE THE EXCLUSIVE RIGHT TO IMPOSE A BUILDING FUND LEVY AUTHORIZED BY ARTICLE X, SECTION 10 AND MADE APPLICABLE TO AREA SCHOOL DISTRICTS BY ARTICLE X, SECTION 9(A) (5) IF THE QUALIFIED ELECTORS APPROVED THE ANNEXATION REFERRED TO IN QUESTION(1) ABOVE, AND THE QUALIFIED ELECTORS OF THE NEWLY COMPOSED AREA VOCATIONAL — TECHNICAL SCHOOL DISTRICT APPROVE A BUILDING FUND LEVY, THE PARTONS OF THE OVERLAP AREA WOULD NOT BE LIABLE TO PAY THIS LEVY. (BUILDING FUND LEVY, ANNEXATION, OVERLAPING DISTRICTS) CITE: ARTICLE X, SECTION 9(B), ARTICLE X, SECTION 10, 70 O.S. 14-109 [70-14-109], 70 O.S. 14-108 [70-14-108], 70 O.S. 4410 [70-4410] (JOHN F. COOPER)